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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

     LISA ANNE-MARIE PARKER,

               Plaintiff,                                            Case No.: 1:23-cv-15887

     v.                                                              Judge Jeremy C. Daniel

     THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sunil R. Harjani
     ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

               Defendants.


                                     NOTICE OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 170                                     Wenini Store
                  67                                      Liu26548 xu
                 115                                  Guanzhenpeng1992
                 191                                        Lyingdiy
                 175                                     YANG SIGN
                 133                                        Diymood
                 213                                         TYTC
                 184                                         vivavt
                 194                                      Vmall shop
                 207                                       Beddingin
                 116                                        HJT sign
                 181                                       ShopStreet
                 205                                Hello Nice day shopping
                 199                                   Landon decoration
                 148                                   fujianlonghushan
                 196                                      L39410'shop
                 182                                      YIN SIGNS
                 179                                  Kelly Basecap Shop
                 214                                        Fox Art
                 210                                Flash point zuan shi hua
                  71                                         Sheyao
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            183                               Colorful Daily
            192                                   Artful
            176                           LUCY MODERN ART
            195                                 Forever Art
            162                            WonderDealStudio
             86                            Art Iron Poster Shop
            212                                   Sinyhu
            102                                 WUYULU


DATED: December 26, 2023                           Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604 Telephone:
                                            312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 26, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
